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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 MHL CUSTOM, INC.,              )
                                )
        Plaintiff,              )
                                )
                    v.          )                          C.A. No.: 21-091-RGA
                                )
 WAYDOO USA, INC. and SHENZHEN  )
 WAYDOO INTELLIGENCE TECHNOLOGY )
 CO., LTD.,                     )
                                )
        Defendants.             )

       UNOPPOSED MOTION FOR PERMISSION TO WITHDRAW AS COUNSEL

         Pursuant to Local Rule 83.7, Haug Partners LLP (“Haug Partners”) and Richards, Layton

& Finger, P.A. (“RLF”) hereby move this Court for an Order permitting them to withdraw as

counsel for Defendants Waydoo USA, Inc. and Shenzhen Waydoo Intelligence Technology Co.,

Ltd. (jointly, “Waydoo”) in this matter. In support of this motion, counsel states as follows:

         1.        Haug Partners was retained to represent Waydoo in early 2021 and reached out to

RLF to serve as Delaware counsel. Haug and RLF represented Waydoo through trial. This Court

entered Judgment on the jury verdict on April 12, 2023. D.I. 226. On September 6 and 7, 2023,

the Court entered Orders resolving the parties’ post-trial motions. D.I. 258, 260. On October 5,

2023, Waydoo filed a Notice of Appeal to the Court of Appeals for the Federal Circuit. D.I. 262.

Plaintiff MHL filed a bill of costs on October 6, 2023 (D.I. 263), which remains pending. There

are no other pending motions before the Court.

         2.        Where counsel seeks to withdraw without replacement Delaware counsel, the Court

should exercise its discretion in deciding whether to permit the withdrawal. Sharp v. Verizon

Delaware Inc., 2012 WL 6212615, at *2 (D. Del. Dec. 12, 2012). There are no set factors the




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Court must consider as the interests may vary widely from case to case. Ihntrip v. Makina Ve

Kimya Endustrisi Kurumu, 760 F.3d 290, 294-95 (3d Cir. 2014).

         3.        Pursuant to ABA Model Rule of Professional Conduct 1.16, a lawyer may withdraw

from representing a client where, inter alia, good cause exists. Model Rule 1.16(c). Haug Partners

and RLF respectfully submit that their request to withdraw is supported by Model Rule 1.16. There

has been a breakdown in the attorney-client relationship between Haug Partners and RLF and

Waydoo. Haug Partners and RLF are obligated to maintain Defendant’s confidential information,

and therefore is not revealing factual details of the basis for their motion in these papers. See

Model Rule 1.6 (“A lawyer shall not reveal information relating to the representation of a client

unless the client gives informed consent”); see also Model Rule 1.16, comment 3 (stating in

relevant part, “The lawyer’s statement that professional considerations require termination of the

representation ordinarily should be accepted as sufficient.”).

         4.        If the Court instructs Haug Partners and RLF to provide further factual details

concerning the issues with ongoing representation, counsel respectfully request that they be

permitted to submit additional details in camera, in order to protect Defendants’ confidential

information.

         5.        Pursuant to Local Rule 83.7, this Motion was sent to Waydoo by registered mail on

December 12, 2023 at the following address listed on its website: A101, No. 3 Keji Road, Zhukeng

Community, Longtian Sub-district, Pingshan District, Shenzhen, Guangdong, China. Additional

copies of this motion have been sent to Waydoo by electronic delivery as that is the sole means by

which Haug Partners and RLF have communicated with Waydoo. In addition, a draft motion that

was substantially similar to this motion was provided to Waydoo by e-mail on December 5, 2023

and January 2, 2024.


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         6.        Counsel has conferred with Plaintiff concerning this motion, and Plaintiff does not

oppose this motion.

         WHEREFORE, Haug Partners and RLF respectfully request that this Court enter an

Order in the form attached hereto permitting them to withdraw as counsel to Defendant Waydoo.


                                                     /s/ Kelly E. Farnan
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